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                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 19-02234-CPM
Elizabeth Mary Felix                                                                                       Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113A-8                  User: jmontero                     Page 1 of 1                          Date Rcvd: Mar 19, 2019
                                      Form ID: 309I                      Total Noticed: 12


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 21, 2019.
db             +Elizabeth Mary Felix,   4264 Revere Cir.,    New Port Richey, FL 34653-6289
28120525       +Fidelity Bank,   Attn: Bankruptcy,    Po Box 105075,   Atlanta, GA 30348-5075
28120528       +Quicken Loans,   662 Woodward Avenue,    Detroit, MI 48226-3433

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: jake@jakeblanchardlaw.com Mar 19 2019 23:47:26      Jake C Blanchard,
                 Blanchard Law, PA,   1501 S. Belcher Rd. Unit 2B,    Largo, FL 33771
tr              E-mail/Text: filingwaage@tampa13.com Mar 19 2019 23:48:41      Jon Waage,    P O Box 25001,
                 Bradenton, FL 34206-5001
ust            +E-mail/Text: ustpregion21.tp.ecf@usdoj.gov Mar 19 2019 23:49:32
                 United States Trustee - TPA7/13, 7,    Timberlake Annex, Suite 1200,    501 E Polk Street,
                 Tampa, FL 33602-3949
28120524        EDI: FLDEPREV.COM Mar 20 2019 03:33:00      Department of Revenue,    PO Box 6668,
                 Tallahassee, FL 32314-6668
28120523        EDI: IRS.COM Mar 20 2019 03:33:00      Internal Revenue Service,   P.O. Box 7346,
                 Philadelphia, PA 19101-7346
28120526       +EDI: NFCU.COM Mar 20 2019 03:33:00      Navy FCU,   820 Follin Lane Se,    Vienna, VA 22180-4907
28120527       +EDI: PRA.COM Mar 20 2019 03:33:00      Portfolio Recovery,   Po Box 41021,
                 Norfolk, VA 23541-1021
28120529       +EDI: VERIZONCOMB.COM Mar 20 2019 03:33:00      Verizon Wireless,
                 Attn: Verizon Wireless Bankruptcy Admini,    500 Technology Dr, Ste 550,
                 Weldon Spring, MO 63304-2225
28120530       +EDI: WFFC.COM Mar 20 2019 03:33:00      Wells Fargo Education Fncl Srvs,    Attn: Bankruptcy,
                 Po Box 5185,   Sioux Falls, SD 57117-5185
                                                                                              TOTAL: 9

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 21, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 19, 2019 at the address(es) listed below:
              Jake C Blanchard   on behalf of Debtor Elizabeth Mary Felix jake@jakeblanchardlaw.com,
               jake.c.blanchard@gmail.com;rebecca@jakeblanchardlaw.com;steve@jakeblanchardlaw.com
              Jon Waage    jwflecf@trustee13.com
              United States Trustee - TPA7/13, 7   USTPRegion21.TP.ECF@USDOJ.GOV
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1                 Elizabeth Mary Felix                                                   Social Security number or ITIN    xxx−xx−3443

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Middle District of Florida
                                                                                                Date case filed for chapter 13 3/15/19
Case number:          8:19−bk−02234−CPM



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Elizabeth Mary Felix

2. All other names used in the
   last 8 years
                                              4264 Revere Cir.
3. Address                                    New Port Richey, FL 34653
                                              Jake C Blanchard                                              Contact phone 727−531−7068
4. Debtor's  attorney
   Name and address
                                              Blanchard Law, PA
                                              1501 S. Belcher Rd. Unit 2B                                   Email: jake@jakeblanchardlaw.com
                                              Largo, FL 33771

5. Bankruptcy Trustee                         Jon Waage                                                     Contact phone 941−747−4644
     Name and address                         P O Box 25001
                                              Bradenton, FL 34206−5001

6. Bankruptcy Clerk's Office                                                                                Hours open:
     Documents in this case may be filed                                                                    Monday − Friday 8:30 AM − 4:00PM
     at this address.                         Sam M. Gibbons United States Courthouse
     You may inspect all records filed in     801 North Florida Avenue, Suite 555
     this case at this office or online at    Tampa, FL 33602                                               Contact phone 813−301−5162
      www.pacer.gov.
                                                                                                            Date: March 19, 2019
                                                                                                                  For more information, see page 2

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Debtor Elizabeth Mary Felix                                                                                                               Case number 8:19−bk−02234−CPM

7. Meeting of creditors
    Debtors must attend the meeting to     April 16, 2019 at 02:00 PM                                                   Location:
    be questioned under oath. In a joint                                                                                Room 100−B, 501 East Polk St., (Timberlake
    case, both spouses must attend.                                                                                     Annex), Tampa, FL 33602
    Creditors may attend, but are not      The meeting may be continued or adjourned to a
    required to do so. You are reminded    later date. If so, the date will be on the court
    that Local Rule 5073−1 restricts the   docket.
    entry of personal electronic devices
    into the Courthouse.
                                              *** Debtor(s) must present Photo ID and acceptable
                                             proof of Social Security Number at § 341 meeting. ***
8. Deadlines                               Deadline to file a complaint to challenge                                             Filing deadline: June 17, 2019
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                                   Filing deadline: May 24, 2019
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                                    For a governmental unit: 180 days from
                                           claim:                                                                                the date of filing



                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be filed online at
                                           the Court's website at www.flmb.uscourts.gov, or obtained at www.uscourts.gov or at any bankruptcy clerk's
                                           office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.
                                           Attention Mortgage Holders: Attachments to your Proof of Claim may be required by changes to Rule 3001.
                                           Forms and attachments are available at at www.uscourts.gov.


                                           Deadline to object to exemptions:                                                     Filing deadline:         30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                             conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                              meeting of creditors
                                           may file an objection.

9. Filing of plan, hearing on              The plan will be sent separately. The initial confirmation hearing will be held on:
   confirmation of plan                    May 15, 2019 at 01:30 PM, Location: Courtroom 8B, Sam M. Gibbons United States Courthouse, 801 N.
                                           Florida Avenue, Tampa, FL 33602

                                           Debtors and their attorneys are not required to attend the Initial Confirmation Hearing because, in most cases, the Initial
                                           Confirmation Hearing will be continued to a date after the deadline for filing proofs of claim. However, the Court will hear
                                           and may rule on motions and objections that are separately noticed for hearing for the same time as the Initial Confirmation
                                           Hearing.
                                           Local Rule 5073−1 restricts the entry of electronic devices and mobile phones into the Courthouse.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to extend the deadline in
                                           this notice. Consult an attorney familiar with United States bankruptcy law if you have any questions about your rights in this case.
    address
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts according to a plan. A plan is
                                           not effective unless the court confirms it. You may object to confirmation of the plan and appear at the confirmation hearing. A copy of
    bankruptcy case                        the plan, if not enclosed, will be sent to you later, and if the confirmation hearing is not indicated on this notice, you will be sent notice
                                           of the confirmation hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                           unless the court orders otherwise.

12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed to creditors, even if
                                           the case is converted to chapter 7. Debtors must file a list of property claimed as exempt. You may inspect that list at the bankruptcy
                                           clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an exemption that debtors claimed, you may
                                           file an objection by the deadline.

13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt. However,
                                           unless the court orders otherwise, the debts will not be discharged until all payments under the plan are made. A discharge
                                           means that creditors may never try to collect the debt from the debtors personally except as provided in the plan. If you
                                           want to have a particular debt excepted from discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and
                                           pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a
                                           discharge of any of their debts under 11 U.S.C. § 1328(f), you must file a motion. The bankruptcy clerk's office must
                                           receive the objection by the deadline to object to exemptions in line 8.
14. Voice Case Info. System                McVCIS provides basic case information concerning deadlines such as case opening and closing date, discharge date and
    (McVCIS)                               whether a case has assets or not. McVCIS is accessible 24 hours a day except when routine maintenance is performed. To
                                           access McVCIS toll free call 1−866−222−8029.


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